
*85OPINION.
Milliken:
Section 240(a) of the Revenue Act'of 1921, provides that corporations which are affiliated within the meaning of that section may, for any taxable year beginning on or after January 1, 1922, make a separate return, or, under regulations prescribed by the Commissioner, make a consolidated return. The statute, thus, *86in the case of affiliated corporations, provides two ways in which returns may be filed. Either return is a correct and proper return, but the .return that is filed is the only return recognized by the law and upon which’ the taxes due thereunder shall be computed and determined.
We decided, in R. Downes, Jr. v. Commissioner, 5 B. T. A. 1029, that a separate return could not be subsequently filed, where a joint return had been filed pursuant to the provisions of section 223 of the Revenue Act of 1921. The decision in R. Downes, Jr. v. Commissioner, supra, is decisive and controlling in the instant proceeding.

Decision redetermining the deficiency for 19%% to be $954-69 will be entered.

